         Case 6:21-cv-06323-CJS Document 16 Filed 01/10/22 Page 1 of 1


IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,
                                                                       21-CV-6323
              -v-

$8,040 UNITED STATES CURRENCY,

                  Defendant.
_______________________________________________


                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that she is an employee of the United States
Attorney's Office for the Western District of New York and is a person of such age and
discretion as to be competent to serve papers.
       On January 7, 2022, she served a copy of the following documents:

       1. Response to Answer in Opposition to Motion to Strike

by FedEx, by placing said copies in a postage-paid envelope addressed to the person
hereinafter named, at the place stated below, in the custody and care of FedEx.


ADDRESSEE:

 Cristal Starling
 466 ½ W. Main St., Apartment 401
 Rochester, NY 14608

Dated: January 10, 2022                                 s/Kianna Farrell
                                                        Kianna Farrell
